Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 1 of 14




                    EXHIBIT K
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 DEFENDANT'S
                                                       Page  2 of 14EXHIBIT
                                                           NO. 728.001
                                                             United States District Court
                                                            Northern District of California
                                                            No. 11-CV-01846-LHK (PSG)
                                                                  Apple v. Samsung
                                                          Date Admitted:___________By:___________
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 3 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 4 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 5 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 6 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 7 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 8 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 9 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 10 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 11 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 12 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 13 of 14
Case 5:11-cv-01846-LHK Document 3711-11 Filed 05/07/18 Page 14 of 14
